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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-6142-HUNT



  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  DANIELLE EDMONSON,


             Defendant.
  ______________________________


                                     DETENTION ORDER

                Pursuant to 18 U.S.C. ' 3142(f), on April 5, 2019, the undersigned held a

  hearing to determine whether the Defendant Danielle Edmonson-El1 should be detained

  prior to trial. Having considered the factors enumerated in 18 U.S.C. ' 3142(g), this

  Court finds that no condition or combination of conditions will reasonably assure the

  Defendant's appearance at trial. Therefore, it is hereby ordered that Defendant be

  detained prior to trial and until the conclusion thereof.

                In accordance with the provisions of 18 U.S.C. ' 3142(i), the Court hereby

  makes the following findings of fact and statement of reasons for the detention:

                1. 18 U.S.C. ' 3142(g)(1) -- Nature and Circumstances of the Offense.

  Defendant is charged by way of criminal complaint with making false claims and

  1. Defendant is charged under the name Edmonson. In court, she identified herself as
  Edmonson-El. Accordingly, the undersigned will refer to her as Defendant or by her
  preferred name Edmonson-El.
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  statements and with mail fraud, in violation of 18 U.S.C. §§ 287, 1001, and 1341. The

  false claims and false statement charges each carry a maximum penalty of five (5) years’

  imprisonment, while the mail fraud charge carries a maximum penalty of twenty (20)

  years. There is no rebuttable presumption in this case, nor are the charges normally

  “eligible” charges for a pretrial detention request under 18 U.S.C. § 3142(f)(1). Rather,

  the Government seeks detention under 18 U.S.C. § 3142(f)(2)(A), arguing that Ms.

  Edmonson-El is unable or unwilling to comply with court orders, including bond

  conditions, and therefore poses a serious risk of flight. The Government estimates that

  Defendant’s guideline range would be 151–188 months. 18 U.S.C. ' 3142(g)(1).

               2. 18 U.S.C. ' 3142(g)(2) -- Weight of the Evidence. The weight of the

  evidence against this Defendant is strong. At the hearing, the Government proceeded

  by way of proffer, with IRS-CI Special Agent Stephan George then made available for

  cross-examination. The evidence showed that in August 2015, Defendant filed a tax

  return with the IRS seeking a refund in the amount of $239,700. The return included

  handwritten forms falsely indicating that Defendant had paid over $300,000 in taxes.

  IRS issued a tax refund check in the requested amount and mailed the check to

  Defendant’s Fort Lauderdale address.      Defendant deposited the check in her bank

  account and subsequently used some of the funds to purchase a BMW and made a cash

  withdrawal of approximately $60,000.     In March 2017, Defendant filed a tax return

  requesting a refund of more than $80,000,000. Again, the return was supported by

  handwritten forms falsely claiming that Defendant had paid more than $141 million in

  taxes. This refund was not issued. However, in September 2017, Defendant filed a

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  return requesting a refund of $2,405,073. Again, the return included false claims that

  Defendant had received millions of dollars in interest income, and that corresponding

  taxes had been withheld.      The IP address used to file this return traced back to

  Defendant.   IRS issued a refund check in the requested amount and mailed it to

  Defendant at her Fort Lauderdale address. Defendant deposited the check in the same

  bank account. In January 2018, Defendant again filed a tax return requesting more than

  $9,000,000 as a refund, falsely claiming that she had received millions of dollars in

  interest income with corresponding withholdings. The IP address used to file traced

  back to Defendant. During an undercover meeting with IRS in 2017, Defendant verified

  her signature on the 2014 and 2015 returns, claiming she had received interest income

  from ancestral indebtedness.     In January 2018, IRS executed a search warrant at

  Defendant’s home and found a copy of Defendant’s 2015 return, a folder of IRS

  correspondence notifying Defendant of the penalties for filing fraudulent tax returns, and

  a letter from IRS advising Defendant that her “scheme appears to be akin to a fraud.” On

  May 2, 2017, Defendant completed and submitted a U.S. passport application including a

  photograph and an apparently accurate address and date of birth. However, she listed

  her social security number as nine zeroes, claiming that she had never received a social

  security number. (In her filings with the IRS, she used a nine-digit social security number

  issued to her at birth.) In total, Defendant submitted false claims to the IRS in the

  amount of approximately $175,000,000. 18 U.S.C. ' 3142(g)(2).

               3.   18 U.S.C. ' 3142(g)(3) -- History and Characteristics of the

  Defendant.    Danielle Edmonson-El declined to answer any questions from pretrial

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  services or from the undersigned. She purports to be an aboriginal Moor descended

  from pharaohs. She does not recognize the authority of United States District Court and

  refused to participate in court proceedings, including her initial appearance and her

  pretrial detention hearing. Public records accessed by pretrial services indicate that

  Defendant was born on December 6, 1984. She appears to reside in Fort Lauderdale

  and has a two-year-old child. Her father is charged with similar conduct in the same

  complaint.   She has a master’s degree in Business Administration from Nova

  Southeastern University. She has no criminal history. 18 U.S.C. ' 3142(g)(3)(A)–(B).

               4.    18 U.S.C. ' 3142(g)(4) -- Danger to any Person or the Community.

  Based upon the proffered evidence, the undersigned does not find that Defendant is a

  risk of obstruction of justice or threatening a witness, 18 U.S.C. § 3142(f)(2)(B). She

  does, however, pose a serious risk of flight due in part to her access to large amounts of

  money and her alleged attempt to obtain a passport with false information.          More

  importantly, she refuses to recognize the authority of the court, responding to all

  questions with a rote recitation regarding her ancestry. Based upon her behavior in

  court, there is no reason to believe she would appear in court as required if released on

  bond. 18 U.S.C. § 3142(f)(2)(A). 18 U.S.C. ' 3142(g)(4).

               5. Based upon the above findings of fact, which were supported by clear

  and convincing evidence, this Court specifically finds that there are no conditions or

  combination of conditions that reasonably will assure Defendant's appearance in court as

  required. 18 U.S.C. ' 3142(e).

               The Court hereby directs:

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                      (a) That the Defendant be committed to the custody of the Attorney

  General for confinement in a corrections facility separate, to the extent practical, from

  persons awaiting or serving sentences or being held in custody pending appeal;

                      (b)   That the Defendant be afforded reasonable opportunity for

  private consultation with counsel; and

                      (c) That, on order of a court of the United States or on request of an

  attorney for the Government, the person in charge of the corrections facility in which the

  Defendant is confined deliver the Defendant to a United States Marshal for the purpose of

  an appearance in connection with a court proceeding.

               DONE AND ORDERED at Fort Lauderdale, Florida, this 8th day of April,

  2019.



                                           ____________________________________
  Copies to:   All counsel of record       PATRICK M. HUNT
                                           UNITED STATES MAGISTRATE JUDGE




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